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 8                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9
     NATIONAL SPECIALTY PHARMACY,                    )
10   LLC                                             )   Case Number: 23-cv-04357-NW
11                                                   )
                           Plaintiff,                )   [PROPOSED] ORDER
12                                                   )   DISMISSING DEFENDANT
            vs.                                      )   BENJAMIN D. BROWN
13                                                   )   PURSUANT TO THE PARTIES
     SAMEER PADHYE, an individual,                   )   STIPULATION UNDER F.R.C.P.
14   BENJAMIN D. BROWN, an                           )   RULE 41(a)(1)(A)(ii)
     individual, and DOES 1 to 49,                   )
15
     inclusive,                                      )   Hon. Noël Wise
16                        Defendants.                )
17                                                   )

18
            Upon consideration of the parties’ Stipulation to Dismiss Defendant Benjamin D. Brown
19
     from this Action pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii), and for good
20
     cause shown,
21
            IT IS SO ORDERED that Defendant Benjamin D. Brown is hereby dismissed from this
22
     Action without prejudice. Plaintiff National Specialty Pharmacy LLC and Defendant Benjamin
23
     D. Brown shall bear their own costs and fees.
24
25     Dated: __________, 2025                           __________________________
                                                         Noël Wise
26                                                       United States District Judge
27
28
                                                  1
                      [Proposed] Order Dismissing Defendant Benjamin D. Brown
